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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 CREIGHTON TAKATA, Individually           Civil No. 3:18-CV-02293(FLW)(ZNQ)
 and on behalf of all others similarly
 situated,                                MOTION DATE: May 3, 2021

                Plaintiff,                ORAL ARGUMENT REQUESTED

       v.

 RIOT BLOCKCHAIN, INC. F/K/A,
 BIOPTIX, INC., JOHN O’ROURKE,
 and JEFFREY G. McGONEGAL,

                Defendants.


    RIOT BLOCKCHAIN INC.’S REQUEST FOR JUDICIAL NOTICE IN
   SUPPORT OF ITS REPLY IN SUPPORT OF ITS MOTION TO DISMISS
      THE CONSOLIDATED SECOND AMENDED CLASS ACTION
  COMPLAINT FOR VIOLATION OF THE FEDERAL SECURITIES LAWS

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       TO LEAD PLAINTIFF DR. STANLEY GOLOVAC’S AND TO HIS

 ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that pursuant to the Federal Rules of Evidence

 201, Defendant Riot Blockchain, Inc. (“Riot”) hereby requests that the Court take

 judicial notice of the existence, contents, and legal effects of the following

 documents attached as exhibits to the Declaration of Daniel Scott Carlton:

       Exhibit A: Exhibit 10.1 of Bioptix, Inc.’s March 16, 2017 Form 8-K filed

 with the SEC.

       Exhibit B: Exhibit 10.1 of Riot’s December 19, 2017 Form 8-K filed with

 the SEC.

 I.    ARGUMENT

       On a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6),

 “courts must consider the complaint in its entirety, as well as other sources courts

 ordinarily examine when ruling on a Rule 12(b)(6) motion . . . in particular,

 documents incorporated in the complaint by reference, and matters of which a

 court may take judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551

 U.S. 308, 322 (2007). Furthermore, Federal Rule of Evidence Rule 201 allows a

 court to take judicial notice of facts that are “capable of accurate and ready

 determination by resort to sources whose accuracy cannot be reasonably

 questioned.” Fed. R. Evid. 201(b)(2).
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       In this case, each of the documents attached as exhibits to the Declaration of

 Daniel Scott Carlton is properly considered in connection with the Riot’s

 concurrently filed Reply In Support of its Motion to Dismiss the Consolidated

 Second Amended Class Action Complaint (Dkt. No. 188) (the “SAC”) under (1)

 the incorporation by reference doctrine and (2) Federal Rule of Evidence

 201(b)(2), which permits the Court to consider public records.

       A.     The Court Must Consider Riot’s SEC Filings Because They Have
              Been Incorporated by Reference Into the SAC

       Under settled law, a document is incorporated by reference into a complaint

 if it is “integral to and/or [is] explicitly relied upon by . . . the complaint.” Winer

 Family Tr. v. Queen, 503 F.3d 319, 328 (3d Cir. 2007) (ruling that the district court

 properly considered documents attached to the defendants’ motion to dismiss).

 Documents that are integral to or explicitly replied upon the complaint may be

 considered by courts without “converting the motion to dismiss into one for

 summary judgment.” In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410,

 1426 (3d Cir. 1997). This prevents Lead Plaintiff from “maintain[ing] a claim of

 fraud by extracting an isolated statement from a document and placing it in the

 complaint, even though if the statement were examined in the full context of the

 document, it would be clear that the statement was not fraudulent.” Id.




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       Lead Plaintiff expressly references and relies on Riot’s SEC filings in the

 SAC. As such, Riot requests that the Court consider the contents of each of the

 following documents under the incorporation by reference doctrine:

                      Document                          Exhibit No.         SAC ¶

 Exhibit 10.1 of Bioptix, Inc.’s March 16, 2017               A               389
 Form 8-K
 Exhibit 10.1 of Riot’s December 19, 2017 Form 8-             B               416
 K

       B.     The Court Should Take Judicial Notice of Public Records
              Pertinent to Riot’s Reply Brief In Support of Its Motion to
              Dismiss

       It is well settled that public records can be considered on a motion to

 dismiss. See Pension Ben. Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d

 1192, 1196 (3d Cir. 1993); see also Fed. R. Evid. 201(b)(2) (permitting courts to

 take judicial notice of facts that are “capable of accurate and ready determination

 by resort to sources whose accuracy cannot reasonably be questioned”). “SEC

 filings fall within this category of public records that can be judicially noticed.” In

 re Delmarva Sec. Litig., 794 F. Supp. 1293, 1299 (D. Del. 1992); see also Oran v.

 Stafford, 226 F.3d 275, 289 (3d Cir. 2000) (ruling that courts may take judicial

 notice of SEC filings in ruling on a motion to dismiss).

       Thus, the Court should also take judicial notice of Exhibit 10.1 of Bioptix,

 Inc.’s March 16, 2017 Form 8-K and Exhibit 10.1 of Riot’s December 19, 2017

 Form 8-K because they are public records filed with the SEC.



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 II.   CONCLUSION

       For the foregoing reasons, Riot respectfully requests that the Court take

 judicial notice of Exhibits A through B attached to the Declaration of Daniel Scott

 Carlton, and consider them in connection with its adjudication of Riot’s motion to

 dismiss.

 DATED:      April 26, 2021              PAUL HASTINGS LLP


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